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                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF KANSAS


TRACY STANDIFER,         )
                         )
             Plaintiff, )
                         )
vs.                      )
                         )
J.B. HUNT TRANSPORT, INC.)        Case No.
                         )
             Defendant. )

                               COMPLAINT

     COMES NOW the plaintiff Tracy Standifer and for his Complaint

and claim against the defendant J.B. Hunt Transport, Inc. and its

management states and alleges as follows:



                       JURISDICTION AND VENUE

     1.   Jurisdiction over the subject matter of this lawsuit is

proper pursuant to 28 U.S.C. Sec. 1331, 28 U.S.C. Sec. 1391, 28 U.S.C.

Sec. 1343, 42 U.S.C. Sec. 2000e, et.seq., 42 U.S.C. Sec. 1981 and

the Civil Rights Act of 1981, 42 U.S.C. Sec. 1981a, 29 U.S.C Sec.

216, Sec. 621, and 42 U.S.C. Sec. 126 and 12101, et. seq.. Diversity

of citizenship is present.

     2.   Plaintiff's claims and causes of action in this suit in

equity and in law arise under the Constitution and laws of the United


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States, 42 U.S.C. Sec. 1988; 42 U.S.C. Sec. 2000e, et.seq., 42 U.S.C.

Sec. 1981 and the Civil Rights Act of 1981, 42 U.S.C. Sec.1981a, 42

U.S.C. Sec. 1988, the Age Discrimination in Employment Act, 29 U.S.C.

Sec. 216 and 29 U.S.C. Sec. 621, et.seq., and the American With

Disabilities Act, 42 U.S.C. Sec. 126, Sec. 12101, et. seq. and 42

U.S.C. Sec. 1981, et. seq.

     3.   This cause of action arose in Elwood/Wathena, Doniphan

County, Kansas. Venue is proper in the United States District Court

for the District of Kansas pursuant to 28 U.S.C. Sec. 1391.



                                PARTIES

     4.   The plaintiff Tracy Standifer is an African American male,

age 69 with a disability. He is a citizen and resident of Elwood,

Doniphan County, Kansas. (Sometimes referred to as Wathena, Kansas

due to the post office address).

     5.   The defendant J.B. Hunt Transport, Inc. (hereinafter “J.B.

Hunt”) was and is at all relevant time periods herein, the employer

for the plaintiff. It is a foreign for-profit corporation engaged

in interstate commerce and doing business in the state of Kansas.

Its registered agent for service of process is the Corporation

Service Company, 2900 SW Wanamaker Drive, Suite 204, Topeka, Kansas.

As such it was and is subject to all applicable state and federal

laws relating to discrimination and harassment based on race,


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national origin, age and disability.

     6.    At all relevant time periods herein, Erika Gutierrez was

the recruiter for the defendant. Chari Tumlin was Director of

Training and Craig Henike was a training instructor. Krista Casamayor

Micheal Nesbitt and Faith Randles were corporate representatives

involved in plaintiff’s non-retention and termination of employment

and return home. At all time periods the defendant had a Human

Resources Department. At all time periods involved the Defendant had

a Human Resources and Corporate Office.     As such, they among others,

were supervisor or management employees over the plaintiff and his

employment.

     7.   Each of the individuals identified in Paragraph 6 were the

officers, agents, servants and employees of the defendant and their

acts, errors and omissions, as well as those of other supervisory

and management personnel over the plaintiff and his employment, were

taken within the scope of their office, agency, service and

employment and were the acts, errors and omissions of the defendant.

     8.    Each of the individuals, among others, identified in

Paragraph 6 were acting in a supervisory, managerial and

superordinate capacity over the plaintiff and his employment with

the defendant.   As such, each of the acts, errors and omissions of

them and all other employees of defendant involved in the hiring,

his employment, terms and conditions of employment, harassment, and


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non-retention actions in regard to the plaintiff, his employment,

the terms and conditions of his employment and failure to retain in

employment, were directed or ratified by the defendant and are deemed

to have been taken with the actual or constructive knowledge and

consent of the defendant and are deemed to have been the acts, errors

and omissions of the defendant.


                ALLEGATIONS OF FACT COMMON TO ALL COUNTS

     9.   In April 2021 and prior thereto, the plaintiff Tracy

Standifer was registered with various truck driving job placement

services.

    10.   In April 2021 the plaintiff was affirmatively contacted at

his home in Elwood, Kansas by the defendant J.B. Hunt as a result

of his postings and asked him to apply for a truck driving job. He

was contacted by Erika Gutierrez, J.B. Hunt recruiter.

     11. At the time of his recruitment plaintiff had a history of

retina surgery two years prior, a stroke 11 years prior and medical

conditions with high blood pressure and diabetes. Erika Gutierrez

and J.B. Hunt were informed of all these conditions and certain

medical limitations/disability accommodations that would be

required. (The primary one that he walked with a cane). One of the

conditions for being hired was that he had a current DOT Medical

Certificate. At the time of contact and hiring plaintiff had such



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certificate which considered all these conditions dated March 23,

2021 which was valid until March 23, 2022. It was agreed that he would

be applying and be hired for the position of handicapped driver. All

these discussions and provision of information were made from his

home in Elwood, Kansas.

     12.    At the time J.B. Hunt contacted him in Elwood, Kansas

after providing the above referenced medical information the

plaintiff was advised by Erika Gutierrez that the only hold up to

his hiring was the need to provide verification for his employment

from BMS, a prior employer. The plaintiff personally went to BMS and

obtained the records and sent them to J.B. Hunt. Thereafter the

plaintiff was contacted at his home in Elwood, Kansas by Erika

Gutierrez and advised he was hired and contacted him to schedule his

training. Plaintiff was to watch various training videos, etc. at

his home in Elwood, Kansas which he did. He was then given the choice

of going to either Texas or Arkansas for his final training to place

him on the road, which included training on the truck he was to receive

and drive back to his home in Elwood, Kansas from which he would then

go out on the road.

     13. The plaintiff chose Arkansas for his training as it was

closer. He was advised he would be paid to go by bus with an Uber

service from Elwood, Kansas to the bus terminal in St. Joseph,

Missouri, that he would be in a training class of 25 plus new


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employees, provided with a hotel room and breakfast for the days of

training after which he would be assigned to a truck which he would

drive home.

     14.   Prior to traveling to Arkansas for his final training the

plaintiff had provided J.B. Hunt with his DOT Medical Certificate

and two DOT drug and alcohol tests one from April 9, 2021 and another

on April 28, 2021 when he was contacted by Chari Tumlin, J.B. Hunt

Director of Training, and told she wanted a current drug and alcohol

screening and she was making arrangements for him to go that day.

Both tests were performed at Concentra, St. Joseph, Missouri and

provided to defendant J.B. Hunt.

     15. The plaintiff was scheduled for training on May 5, 2021 in

Arkansas and sent there by bus from St. Joseph, Missouri. He was to

be provided with meals, lodging, training and return transportation

home with a truck. He traveled there as agreed.

     16. On May 5, 2021, the first day of orientation and training,

Chari Tumlin, Director of Training, said “I have doubts about you

being able to perform your duties.” Plaintiff advised her he had been

hired as a handicapped driver and explained to her in detail how he

met all the qualifications for the job and could perform all of the

essential functions of the job and that he had a valid DOT Medical

Certificate. Instead of training him to operate the quall-com and

assigning him a truck which was to be part of the training, Chari


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Tomlin demanded he be sent for another physical.

     17.   On May 5, 2021 when plaintiff arrived for his orientation

and training, he was a class of one, not the 25 plus supposed to be

there. He was not provided with any promised meals.

     18. On May 5, 2021 instead of receiving the required instruction

the plaintiff was sent to Arkansas Occupational Health Clinic for

another DOT physical. The doctor told the plaintiff he had passed

the physical and that he was “within DOT guidelines” but he wanted

to ask his doctors a few questions about his diabetes and high blood

pressure. The plaintiff signed all requested documents and

authorizations allowing the doctor’s office permission to obtain

information and contact information. The plaintiff was never advised

he, on his own, needed to do anything else or obtain anything else.

     19. On May 5, 2021, the plaintiff was transported to the medical

exam being arbitrarily required by Chari Tumlin, J.B. Hunt Director

of Training, by Craig Henike, J.B. Hunt instructor. In the van on

the way to the Arkansas Occupational Health Clinic he told the

plaintiff that “she (meaning Chari Tumlin) didn’t think that

“n****rs” should make that much money.”

     20. After plaintiff submitted to the physical and was

transported back to the training facility, he called the corporate

office to inquire about what was going on. He was asked “why she sent

him for a physical since he already had a current DOT Medical


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Certificate” and was asked who else knew what was going on. The

plaintiff gave his phone to Craig Henike, instructor, who left the

room talking on the phone. When he returned Henike started a video

for the plaintiff to watch. After it was running only a short time,

Chari Tumlin, J.B. Hunt Director of Training, came back into the room

and said, “everything that you call yourself doing, it didn’t matter,

I am the queen and that is all water under the bridge. I am making

the decisions.” The plaintiff without further explanation was taken

directly back to the hotel.

     21. On May 6, 2021 when the plaintiff arrived at the training

facility, Chari Tumlin, J.B. Hunt Director of Training, asked the

plaintiff where the papers from his doctor were, claiming she had

not received them yet and left the room. Plaintiff asked the

instructor Craig Henike when he was going to be assigned a tractor

and trailer. Henike gave him a booklet to read and left the room.

When he returned, Henike simply told the plaintiff, “we are sending

you home.” He advised plaintiff he would be picked up by an Uber in

the morning to take him to the bus station to take a bus to Kansas

City.

     22.   On his way to the hotel after being removed from the

training facility the plaintiff called the police while in the van

with Craig Henike with concern that J.B. Hunt was going to make him

homeless in Arkansas as he had been told so many untruths. The


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plaintiff doesn’t live in Kansas City he lives in Elwood, Kansas.

The plaintiff contacted corporate and Krista Casamoyor, Michael

Nesbitt and Faith Randles made special arrangements to get him home.

     23. At no time did the plaintiff abandon the orientation process

or quit his job. At no time did he become upset and leave. At no time

did the plaintiff refuse to provide any authorizations or requested

information or refuse to submit to any additional medical testing

or review. His medical doctors that were sent requests for

information provided the same on May 5, 2021. The defendant J.B. Hunt

never requested his neurology or cardiology records.

     24.   Subsequent to being sent home by J.B. Hunt the plaintiff

received an email from Erika Gutierrez, J.B. Hiring Recruiter,

attaching a Certificate of Equivalent of Road Test and a Certificate

of Qualification, dated May 5, 2021, issued by J.B. Hunt certifying

he had completed the training requirements for entry level driver

training and had a valid Commercial Driver’s License which qualified

him in lieu of a Road Test.

     25. That plaintiff was actually hired and employed and

considered an employee is further confirmed by the fact that after

May 6, 202l he was sent a paycheck for the time he spent in Elwood,

Kansas reviewing various training videos and his time in attending

the Arkansas training.

     26. Despite the above, the plaintiff was never re-contacted by


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J.B. Hunt, was not asked to provide any additional medical

information, his doctors were not contacted for any additional

information and he was never given the job for which he was hired

or told he was still eligible for employment.

     27.   At all relevant time periods herein, the defendant J.B.

Hunt employed in excess of fifteen employees.

     28.   Throughout the time periods alleged herein, prior thereto,

and continuing, a hostile work environment and discrimination

existed in the defendant’s hiring process and post hiring and

employment due to race, age and disability/perceived disability.

     29.   Throughout the time periods alleged herein, defendant J.B.

Hunt and its management and personnel discriminated against and

harassed, or allowed the same to occur, against the plaintiff, Tracy

Standifer, on the basis of his race, age and disability or perceived

disability in the method and manner set forth in the paragraphs above,

incorporated herein by reference.

     30.   Non-African American, younger and non-disabled or

perceived disabled hires and employees were not similarly treated

and are not so treated.

     31.   The reasons given by the defendant J.B. Hunt and its

management personnel for the actions taken against the plaintiff or

the reasons for its lack of action and other actions and conduct

toward the plaintiff in his employment were not legitimate. They were


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pretextual and taken against plaintiff because of his race, age,

disability or perceived disability and as part of a pattern and

practice of discrimination and harassment in hiring and in the

workplace against employees based on their race, age and disability

or perceived disability.

     32.    The plaintiff was issued a Right to Sue by the Equal

Employment Opportunity Commission on November 22, 2021 which was

received by the plaintiff after that date. The respective charge

number is EEOC Charge No. 493-2021-01225.

     33.   The plaintiff was and is being subjected to ongoing and

daily discrimination because of the defendant J.B. Hunt’s hiring but

refusal to place or retain the plaintiff in the position for which

he was hired causing him great mental and emotional distress as set

forth above and incorporated herein by reference.

     34.   The actions of the defendant J.B. Hunt and its agents,

servants and employees, including those identified in Paragraph 6

above, with reference to the plaintiff; the terms and conditions of

his employment; his hiring and in the actions it took and is taking

with respect to the discharge or failure to place the plaintiff in

employment after hiring were wrongful, harassing and discriminatory

and were the direct and proximate cause of the injuries and damages

suffered by the plaintiff.

    35.    The actions of the defendant, and its representatives as


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outlined above, were and are taken in bad faith, with reckless and

callous disregard for the rights of the plaintiff and were grossly

and wantonly negligent and exhibited intentional and deliberate

indifference to the foreseeable damage and injury sure to be caused

and suffered by the plaintiff.


                             COUNT I-
     RACE AND NATIONAL ORIGIN DISCRIMINATION AND HARRASSMENT
                          IN EMPLOYMENT

     36.   The plaintiff incorporates herein by reference Paragraphs

1 through 35 set forth above and additionally states:

     37.   The jurisdiction of this Court in this Count is invoked

to secure protection of and to redress the deprivation of rights

secured by the provisions of Title VII of the Civil Rights Act, 42

U.S.C. Sec. 2000e, et. seq., the Civil Rights Act of 1991, 42 U.S.C.

Sec. 1981a and 42 U.S.C. Sec. 1981, all of which provide for

affirmative relief against race discrimination and harassment in

hiring and in employment.

     38.   All conditions precedent to jurisdiction under the

statute have occurred or been complied with concerning plaintiff's

charge of discrimination, as outlined above and incorporated herein

by reference.

     39.   The defendant and its management individuals identified

above, and each of them, and the individuals who were or would have



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been plaintiff's supervisors, super ordinates or managerial

employees, including those in paragraph 6 above, are employers within

the meaning of the federal and state acts, and said defendant at all

relevant time periods herein discriminated and harassed against the

plaintiff in the matter of his hiring, his employment, in the terms

and conditions of his employment, his non-retention of employment

or reinstatement on the basis of his race.

    40.    At all relevant time periods herein the plaintiff was in

a protected group within the meaning of the federal and state acts.

    41.    The plaintiff was discriminated against and harassed and

subjected to the actions and conduct outlined above, although there

were other similarly situated non-African American employees who

were not so treated because the defendant and management and

supervisory personnel followed or allowed to be followed a policy

and practice of discrimination and harassment in hiring and in

employment on the basis of race.

   42.    The plaintiff as a consequence of this conduct of the

defendant has suffered past and future economic loss, related

employment benefits and promotion possibilities, and other general

and actual damages, including mental and emotional distress, loss

of reputation, anxiety and related damages.

  43.    The conduct of the defendant with respect to the plaintiff

and his hiring and employment, were so intentional, recklessly


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indifferent, willful, wanton, malicious and in bad faith so as to

entitle plaintiff to make claim for and ask a jury to consider the

award of punitive damages under federal statute.

  44.   WHEREFORE, the plaintiff Tracy Standifer in Count I and in

his overall Complaint asks this Court to enter judgment against the

defendant J.B Hunt Transport, Inc. for the following:

           a.   A permanent injunction enjoining defendant and its

           officers, agents, employees, successors and assigns and

           all persons in active concert or participating with it,

           from engaging in any employment practice or conduct of a

           discriminatory or harassing nature against African

           American employees or those with such perceived status or

           for retaliatory conduct for opposing, reporting,

           assisting or complaining of such discrimination or

           harassment;

           b.   Front pay;

           e.   Compensatory damages in the amount of $300,000.00 or

           such amount as may be found allowable under law, including

           retroactive increases in pay, hours, etc. applicable;

           f.   Punitive damages in the amount of $300,000.00 or such

           amount as may be found allowable under the law;

           g.   Prejudgment interest;

           h.   Award of reasonable attorney’s fees and costs;


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           I.   The costs of this action; and

           j.   Any and all other affirmative relief or damages

           against this defendant as may be appropriate and to

           which plaintiff may be entitled at law or in equity.


                             COUNT II-
                 AGE DISCRIMINATION AND HARASSMENT
                           IN EMPLOYMENT

     45.   The plaintiff incorporates herein by reference Paragraphs

1 through 44 set forth above and additionally states:

     46.   The jurisdiction of this Court in this Count is invoked

to secure protection of and to redress the deprivation of rights

secured by the provisions of the Age Discrimination in Employment

statutes, 29 U.S.C. Sec. 216 and U.S.C. Sec. 621, all of which provide

for affirmative relief against age discrimination and harassment in

hiring or employment.

     47.   All conditions precedent to jurisdiction under the

statute have occurred or been complied with concerning plaintiff's

charge of discrimination and harassment, as outlined above and

incorporated herein by reference.

     48.   The defendant and its management individuals identified

above, and each of them, and the individuals who were or would have

been plaintiff's supervisors, super ordinates or managerial

employees, including those in paragraph 6 above, are employers within



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the meaning of the federal and state acts, and said defendant at all

relevant time periods herein discriminated and harassed against the

plaintiff in the matter of his hiring, his employment, in the terms

and conditions of his employment, his non-retention and in the

failure to continue or re-offer his employment on the basis of his

age.

    49.     At all relevant time periods herein the plaintiff was in

a protected group within the meaning of the federal acts.

    50.     The plaintiff was discriminated against and harassed

against and subjected to the actions and conduct outlined above,

although there were other similarly situated younger employees who

were not so treated because the defendant and management and

supervisory personnel followed or allowed to be followed a policy

and practice of discrimination and harassment in hiring and

employment on the basis of age.

   51.     The plaintiff as a consequence of this conduct of the

defendant has suffered past and future economic loss, related

employment benefits and promotion possibilities, and other general

and actual damages, including mental and emotional distress, loss

of reputation, anxiety and related damages.

  52.     The conduct of the defendant with respect to the plaintiff

and his hiring and employment, were so intentional, recklessly

indifferent, willful, wanton, malicious and in bad faith so as to


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entitle plaintiff to make claim for and ask a jury to consider the

award of liquidated damages as such may be allowed by statute.

  53.   WHEREFORE, the plaintiff Tracy Standifer in Count II and in

his overall Complaint asks this Court to enter judgment against the

defendant J.B. Hunt Transport, Inc. for the following:

           a.   A permanent injunction enjoining defendant and its

           officers, agents, employees, successors and assigns and

           all persons in active concert or participating with it,

           from engaging in any employment practice or conduct of a

           discriminatory or harassing nature against older

           employees or those with such perceived status or for

           retaliatory conduct for opposing, reporting, assisting or

           complaining of such discrimination or harassment;

           b.   Front pay;

           e.   Compensatory damages in the amount of $300,000.00 or

           such amount as may be found allowable under law, including

           lost wages, retroactive increases in pay, hours, etc.

           applicable;

           f.   Liquidated damages in the amount of $300,000.00 or

           such amount as may be found allowable under law;

           g.   Prejudgment interest;

           h.   Award of reasonable attorney’s fees and costs;

           I.   The costs of this action; and


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           j.   Any and all other affirmative relief or damages

           against this defendant as may be appropriate and to

           which plaintiff may be entitled at law or in equity.



                             COUNT III-
             DISABILITY DISCRIMINATION AND HARRASSMENT
                           IN EMPLOYMENT

     54.   The plaintiff incorporates herein by reference Paragraphs

1 through 53 set forth above and additionally states:

     55.   The jurisdiction of this Court in this Count is invoked

to secure protection of and to redress the deprivation of rights

secured by the provisions of The American With Disabilities Act, as

amended, 42 U.S.C. Sec. 126 and Sec. 12101, et. seq.; the Civil Rights

Act of 1991, 42 U.S.C. Sec. 1981a, all of which provide for

affirmative relief against disability discrimination and harassment

in hiring and in employment.

     56.   All conditions precedent to jurisdiction under the

statute have occurred or been complied with concerning plaintiff's

charge of discrimination, as outlined above and incorporated herein

by reference.

     57.   The defendant and its management individuals identified

above, and each of them, and the individuals who were or would have

been plaintiff's supervisors, super ordinates or managerial

employees, including those in paragraph 6 above, are employers within


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the meaning of the federal and state acts, and said defendant at all

relevant time periods herein discriminated and harassed against the

plaintiff in the matter of his hiring, his employment, in the terms

and conditions of his employment, his non-retention in employment

or rehire on the basis of his disability or perceived disability.

    58.    At all relevant time periods herein the plaintiff was in

a protected group within the meaning of the federal and state acts.

    59.    The plaintiff was discriminated against and harassed and

subjected to the actions and conduct outlined above, although there

were other similarly situated non-disabled or perceived disabled

employees who were not so treated because the defendant and

management and supervisory personnel followed or allowed to be

followed a policy and practice of discrimination and harassment in

hiring and in employment on the basis of disability or perceived

disability.

   60.    The plaintiff as a consequence of this conduct of the

defendant has suffered past and future economic loss, related

employment benefits and promotion possibilities, and other general

and actual damages, including mental and emotional distress, loss

of reputation, anxiety and related damages.

  61.    The conduct of the defendant with respect to the plaintiff

and his hiring and employment, were so intentional, recklessly

indifferent, willful, wanton, malicious and in bad faith so as to


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entitle plaintiff to make claim for and ask a jury to consider the

award of punitive damages under federal statute.

  62.   WHEREFORE, the plaintiff Tracy Standifer in Count III and in

his overall Complaint asks this Court to enter judgment against the

defendant J.B Hunt Transport, Inc. for the following:

           a.   A permanent injunction enjoining defendant and its

           officers, agents, employees, successors and assigns and

           all persons in active concert or participating with it,

           from engaging in any employment practice or conduct of a

           discriminatory or harassing nature against disabled or

           perceived disabled hires or employees or those with such

           perceived status or for retaliatory conduct for opposing,

           reporting, assisting or complaining of such

           discrimination or harassment;

           b.   Front pay;

           e.   Compensatory damages in the amount of $300,000.00 or

           such amount as may be found allowable under law, including

           retroactive increases in pay, hours, etc. applicable;

           f.   Punitive damages in the amount of $300,000.00 or such

           amount as may be found allowable under the law;

           g.   Prejudgment interest;

           h.   Award of reasonable attorney’s fees and costs;

           I.   The costs of this action; and


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          j.    Any and all other affirmative relief or damages

          against this defendant as may be appropriate and to

          which plaintiff may be entitled at law or in equity.


                                  Respectfully Submitted,


                                   s/Ruth M. Benien

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                                  ATTORNEY FOR PLAINTIFF


                        DEMAND FOR JURY TRIAL

          COMES NOW the plaintiff Tracy Standifer and demands a jury

trial upon all the claims and issues raised in his Complaint.

                                   s/Ruth M. Benien

                                   Ruth M. Benien

                      DESIGNATION OF PLACE OF TRIAL

            COMES NOW the plaintiff Tracy Standifer and designates

Kansas City, Kansas as the place for trial.

                                   s/Ruth M. Benien

                                   Ruth M. Benien



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